         Case 3:19-mj-00033-RWT Document 1 Filed 02/28/19 Page 1 of 1 PageID #: 1


A0 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                               Northern District of West Virginia

                  United States of America                            )
                                V.
                                                                      )      Case No.
                   Christopher Lee Yates
                                                                      )
                                                                      )
                                                                      )                                -           RILED
                          Defendant(’s)                                                                        28 2Ojg
                                                                                                               FEB
                                               CRIMINAL COMPLAINT                                                   URG°WVND
                                                                                                                         25401
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 February 25, 2019                 in the county of              Berkeley        in the
     Northern          District of        West Virginia        ,   the defendant(s) violated:

             Code Section                                                       Offense Descrztion
18 U.S.C. 641                                 Theft of Government Property




          This criminal complaint is based on these facts:

See Attached Affidavit.




          f Continued on the attached sheet.

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                                                                                           Special Agent Seth Cox, ATF
                                                                                                Printed name and title

Sworn to before me and signed in my presence.


Date:             02/28/2019


City and state:                  Martinsburg, West Virginia                    Robert W. Trumble, United States Magistrate Judge
                                                                                                Printed name and title
